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EXHIBIT 1

Letters of Support
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Letter #1
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July 14, 2024

To the Honorable Timothy Kelly,

My name is Charles F Green Ill and | am Jacquelyn Starer’s husband. | am 76 years
old and have been married to Jackie since 1999. We have no children of our own,
but | helped raise my stepson from Jackie’s previous marriage since he was 10-11
years old. He is now 35 years old. | have included a picture from our 1999
wedding.

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| was a mortgage banker for 30 years and rose to Vice-President of the mortgage
bank where | worked in Stow, Ma. | am now retired but work a few hours per
week at a local golf course when | am able.

| have been in recovery from alcohol for over 35 years and remain active in
Alcoholic Anonymous. Jackie had her own problem with prescription medication
dependence and depression, and | met her when she was hospitalized at Emerson
Hospital in 1996 where | was a volunteer. | have watched and helped her
throughout the years of her recovery and am extremely proud of her recovery
and her extensive personal and professional work to assist other
alcoholics/addicts in their recovery over the last 25 years.

| understand she has been charged with a serious crime and | was at home and
answered the door when our home was raided by the FBI on or about 6 am

December 27, 2022. | am writing this letter to ask the courts for leniency on her
behalf.

| thought what transpired at the Capitol was wrong but had no advance idea of
the events that would take place and neither did Jackie. She was very eager to go
to the rallies that day to support President Trump. My thoughts were that she just
needed to go and get it out of her system. She never discussed participating in
any violence or illegal activity at the rally but went purely to support President
Trump. | truly believe she got caught up in the events of the day and was not even
aware at the time of much of what was occurring in and around other areas the
Capitol that day.

In my opinion, Jackie deserves leniency form the court. She is a good person,
hardworking, and idealistic. She has volunteered on community, state, and
national levels. Locally, she advocated for sidewalks in the community, supported
music education in the school, and contributed to the updating of the Ashland
Master Plan.

She became very active in the medical addiction profession, especially advocating
for pregnant women with addictions, and chaired a Women’s Action Group as
part of the American Society of Addiction Medicine which developed an updated
policy on the treatment of pregnant women with opioid dependence and several
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policy statements defending pregnant women from incarceration for substance
abuse. She served as the President of the Massachusetts State Chapter Society of
Addiction Medicine, served on numerous state and national committees,
organized medical education events, and lectured widely on the topic of pregnant
women with opioid dependence. Details are available in her attached resume.

Personally, she has supported me through numerous medical challenges over the
years, including a heart attack, multiple trips to the emergency room for various
conditions and prolonged hospitalizations for presumed bowel obstructions,
eventually diagnosed as Crohn’s disease, for which | now receive regular infusion
treatment, as well as for lung disease, and cardiac surgery.

| have a lung disease called bronchomalacia which can allow my lungs to collapse
more easily and collect mucous blockage and | also have sleep apnea which
requires CPAP treatment. The bronchomalacia required a three-week
hospitalization ultimately ending in a broken rib from chronic coughing and
requiring two bronchoscopies before all the mucous plugs in my lungs could
finally be cleared.

| was diagnosed with bladder cancer which seems to be in remission after infusion
therapy and | am monitored for an aortic aneurism with regular ultrasounds and
requires vigilance in treating my high blood pressure to prevent growth of the
aneurysm.

Additionally, | experienced a severe fall with rupture of my patellar tendon while
we were visiting friends in Texas several years ago. This accident required
emergency surgery in Texas, postponement of our return trip, and had prolonged
recovery and with physical therapy upon returning home. | was unable to drive
for a lengthy period.

More recently, just this summer 2023, | was hit in the side of my car by another
vehicle and continue to struggle the remnants of extensive bruising, pain, and
swelling of my left leg and am under medical care for this. My knees both have
severe arthritis, worsened by the car accident, and | have received three gel
infusions to no avail. | have great difficulty with stairs and am unable to do simple
tasks such as carry laundry baskets or other items up or down the stairs. Jackie
has to fill in with these tasks.
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| am completely unable to assist with any yard work or shoveling the walkway in
the winter. Jacquelyn does all the gardening upkeep and landscape upkeep except
for the weekly mowing which we hire out. In the winter, our driveway is plowed
but Jackie shovels the walkway and clears snow from the mailbox.

We have anticipated that at some point, | may not tolerate two story living and
we have already remodeled the downstairs to have a bedroom and added a walk-
in shower to the bathroom. Both the extra room and the bathroom had the
doorways replaced to accommodate wheelchair accessibility.

Jackie also manages our investment and retirement portfolio which we now rely
on for monthly expenses since she has been deprived of her medical license, her
job, and ability to earn any income.

As you can see, my age and health lead me to rely on her in these times and the
future. In my condition, we never know when the next ball will suddenly drop. |
would have extreme difficulty managing my own care if she were not available to
help me. She assists in laying out my medications for the month of which there is
an extensive list.

Previously, | was with Jackie when she cared for both her aging parents who lived
in Wisconsin, and this required frequent travel back and forth and involved much
stress. She has also been a wonderful mother to her son over the years. He now
lives on his own and although they differ in their political outlooks, and their
relationship is strained, they both work hard to put their relationship first and
support each other. This relationship strain with her son has been most difficult
for Jackie and has caused severe bouts of depression.

The last the 3 % years have been very challenging for the both of us and especially
since her arrest in December 2022. She particularly has already suffered many
losses, including most of her medical credentials and thus her ability to work and
practice medicine or to continue caring for her patients. This has been devastating
for her. Her personal and family relations have been strained and she tends to be
isolated from friends and family. It has also been financially difficult for us, as we
no longer have adequate monthly income to cover expenses and we must rely on
social security and withdrawals from our retirement accounts.
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She would very much like to regain her privileges to practice medicine and
continue to care for those struggling with addiction, but this is unlikely if the
outcome of these proceedings is not in her favor. At the very least, she would like
to restore her reputation in the medical profession and in the community.

She realizes that she got herself into a very bad situation and broke the law which
she regrets. She has no intention of being involved in any illegal political or
criminal activity going forward. She is not a threat to society or any individual. She
has been 100% compliant with the terms of her pre-trial probation, including
regular drug testing and continuing with frequent therapy with her psychiatrist,
going on 18 months now at the time of this letter. Her relationship with her
psychiatrist preceded these events by about 20 years.

In conclusion, | am asking that Jackie be spared from any jail time. | do not see
how this would be for the greater good of anyone and it would be very
deleterious for me and for her son personally. She has paid a large price already.
She prays daily for the country and has much to offer.

| wish | could accompany her to court to sit behind her in support, but | honestly
would find the rigors of travel too difficult, including walking to the gates and
around Washington DC. | would prefer she be able to focus on the court
proceedings rather than need to assist me with wheelchairs for the long airport
walks to the boarding gates and the other travel assistance | would require. But
please know that | am there in spirit and 100% supportive of my wife.

Most respectfully,

6 SM
\ AS ee if ——

Charles F. Green III
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Letter #2
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ji Mass General Brigham
cee Brigham and Women’s Faulkner Hospital

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1153 CENTRE ST

STE 4A

BOSTON MA 02130

Dept Phone #: 617-983-7300
Dept Fax #: 617-983-7386

05/21/24

Re:

Jacquelyn J Starer, MD
23 Byron Rd

Ashland MA 01721

To Whom It May Concern:

Jacquelyn J Starer is a patient under my care.

Her current medical history and treatment is listed below:

Patient Active Problem List
Diagnosis

Hypothyroidism

Migraine

Anxiety and depression

Asthma

Spondylolisthesis

Labral tear of right hip joint

Osteoarthritis of hip

Degenerative lumbar spinal stenosis

Status post left cataract extraction

Small intestinal bacterial overgrowth (SIBO)
Gastroesophageal reflux disease without esophagitis
Esophageal spasm

Primary osteoarthritis of both knees

Past Surgical History:
Procedure Laterality

ABDOMINAL SURGERY

cesarean, myomectomy, cholecystectomy

BACK SURGERY

BREAST SURGERY

CESAREAN SECTION

CHOLECYSTECTOMY

COSMETIC SURGERY

breast implants

HIP ARTHROSCOPY Right

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BWH Brigham Primary Physicians Suite 4A

Date
2011, 1988

2011
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grade 3 changes
* HYSTERECTOMY myomectomy
* HYSTEROSCOPY W/ POLYPECTOMY
benign
¢ LAMINECTOMY
S/P Laminectomy; lumbar spine
¢ LAMINECTOMY LUMBAR SPINE WITH FUSION ONE N/A 8/18/2021
LEVEL
Procedure: LAMINECTOMY LUMBAR SPINE WITH FUSION L2-L3, WITH REMOVAL OF
HARDWARE L3/4; Surgeon: Louis George Jenis, MD; Location: NWH OR; Service:
Orthopedic Surgery

* RHYTIDECTOMY 2000
Face Lift

¢ SKIN BIOPSY 2-3 years
no cancers

* TONSILLECTOMY in the 80's

* UNCODED SURGICAL HISTORY
S/P Spinal arthrodesis - L3-L4 XLIF post instrumentation

Current Outpatient Medications Ordered in Epic

Medication Sig

* atenolol (TENORMIN) 50 mg take 1 tablet daily
tablet

* clonazePAM (KLONOPIN) Take 1 tablet (0.5 mg total) by mouth 2 (two)
0.5 MG tablet times a day as needed for anxiety.

* desvenlafaxine succinate Take 50 mg by mouth daily.
(PRISTIQ) 50 MG 24 hr
tablet

* famotidine (PEPCID) 20 MG Take 20 mg by mouth.
tablet

* fluticasone propionate USE 2 INHALATIONS TWICE A DAY

(FLOVENT HFA) 110
mcg/actuation inhaler

¢lamoTRigine (LAMICTAL) 5 Take 5 mg by mouth. (Patient not taking:
MG TChD Reported on 2/6/2024)

* levothyroxine (SYNTHROID, take 1 tablet every morning
LEVOTHROID) 175 MCG

tablet

* loratadine (CLARITIN) 10 mg Take 10 mg by mouth daily.
tablet

* miscellaneous medical 1 tablet by Miscellaneous route daily.
supply Misc COMPOUNDED ESTROGEN

PROGESTERONE CREAM
* modafinil (PROVIGIL) 200 Take 100 mg by mouth daily.
MG tablet
* nitroglycerin (NITROSTAT) Daily as needed for stomach spasms.
0.4 MG SL tablet
* omeprazole (PRILOSEC) 40 Take 40 mg by mouth.
MG capsule

* PROAIR HFA 90 USE 2 INHALATIONS EVERY 6 HOURS AS

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mcg/actuation inhaler NEEDED FOR WHEEZING
* topiramate (TOPAMAX) 25 ‘Take 1 tablet (25 mg total) by mouth daily.
MG tablet
* traMADoL (ULTRAM) 50 mg Take 1 tablet (50 mg total) by mouth every 8
tablet (eight) hours as needed for pain (specific
location in comments).

Please feel free to contact the office if further information is required for your review.

Sincerely, -
Lt

Linda A.Lauretti, MD
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Letter #3
Case 1:23-cr-00260-TJK Document 43-1 Filed 08/29/24 Page13 of 35

Christopher R. McKinney
249 Riverlin St

Millbury, MA 01527
May 8, 2024

To the Honorable Thomas Kelly

RE: Character reference for Jacquelyn Starer

My name is Christopher McKinney and I was a patient of Dr. Starer’s outpatient opiate use
disorder practice from 2018 until she surrendered her medical license in December 2022.

While I have only known her in a professional context, the cumulative time we’ve spent

together in group & individual sessions gives me confidence to attest to her professional
demeanor.

Dr. Starer has always presented as a caring, empathetic, well-mannered professional. Her
note taking was very detailed, and she would follow-up on any concerns raised ina previous
session.

Treating addicts in recovery felt like a very personal passion for her — it was obvious that
she had a bond with each of her patients. I often commented how there was enough
demand that she could dramatically expand her operation, but she seemed much more
interested in keeping the group small and personal vs. trying to maximize financial gain.

Knowing the importance of human connection to recovery, she started a group with her
patients — she would have speakers come in from outside to share their experience with the
group, and then there would be discussion while she saw her patients individually. For some

patients this was the only AA/NA recovery activity they partook in, so it was of special
benefit for them.

I’m aware of the gravity of her charges and learning of them was deeply distressing to me -
however- from my perspective as a pacifist who also believes in accountability, I don’t
believe jail time would serve any benefit in this case.

The loss of her livelihood (in a profession with critical shortages), along with the public
condemnation/harassment when the charges came to light should satisfy the punitive
nature of any sentence. Instead, her experience treating addicts could be utilized in some
community service program to repay the “debt” to society.

I truly appreciate the time you've taken to read this.

Yours sincerely

Christopher R. McKinney

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Letter #4
Case 1:23-cr-00260-TJK Document 43-1 Filed 08/29/24 Page 15 of 35

Massachusetts Psychiatric Services
258 Main Street
Sturbridge, MA 01566

Phone: 508.418.6888
Fax: 508-418-6886 ‘

August 28, 2024

To the Honorable Timothy J. Kelly:

My patient, Jacquelyne Starer, has asked me to write this letter documenting
her treatment with me. | am aware that it will be submitted by her lawyers at
her sentencing.

| began to treat Dr. Starer in June 2004, providing medication management
and psychotherapy with meetings ranging from weekly to monthly depending
on her needs and our mutual availability for appointments. She has attended
regularly without missing appointments and makes use of the time to
discuss a wide range of issues. As you are likely aware, she came to me after
having been referred by Physician Health Services, a division of the
Massachusetts Medical Society which provides support for physicians with
substance use problems. Dr. Starer self-referred to this program when she
began to struggle with substance use but by the time she was referred to me
though that program, she had been clean and sober for 7 years and
continues now to make use of AA regularly.

Her formal diagnosis from me is major depressive disorder, recurrent,
moderate. It has been in full remission or partial remission most of the time |
have treated her but she has also had full blown episodes of major
depression.

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CHU.
ee 58>, Massachusetts Psychiatric Services
s ( nn 258 Main Street
B Sturbridge, MA 01566
>, w/o”
Ore
Wareie see Phone: 508.418.6888

Fax: 508-418-6886

In terms of her medication, we have found over the years that she is very sensitive to
both side effects and benefits of medication, and has often had unusual side
effects, so she has had difficulty preventing recurrences of her mood than other
patients | treat.

In terms of her therapy, we have worked on a wide variety of issues in areas that are
common for women in medicine, including managing bureaucratic frustration,
managing power dynamics in a workplace, tolerating frustrating circumstances with
patients and other care team members, issues related to working within
organizations that provided inadequate care and how much to tolerate, etc. She also
shared her joy and passion in her transition from being an ob-gyn to a physician who
specialized in addiction medicine, especially addiction medicine in pregnant
patients, and getting board-certified in that field. Frankly, she taught me a lot about

. this area of medicine and her enthusiasm and sense of mission was infectious.

We also worked on long-standing issues she had with her husband in a stable
marriage. More recently we have worked on the fallout in her life from her actions on
January 6th, and conflict she has with her son over the current Middle East conflict.

Throughout her treatment she has been actively engaged in self-exploration and has
striven to make herself and the world a better place.

Based on my 20-year treatment history with Dr. Starer, | can predict that she will
remain committed to ongoing mental health treatment.

Thank you for your consideration in this matter,

|
NNN
Virginia Merritt MD

Board Certified Psychiatry and Child and Adolescent Psychiatry

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Letter #5
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May 10, 2024

Cecilia M. Pick, Ph.D.
7426 SW 32"4 Avenue
Owatonna, MN 55060

To the Honorable Timothy Kelly,

My letter is regarding Jacquelyn Starer, M.D., whom I have known since we were in junior high school in
Shorewood, WI. She is my sister’s best friend, and with me being a year younger, | was the “little sister”
up through our college years at the University of Wisconsin - Madison. While | was a Fulbright Teaching
Assistant in Germany, “Jackie” was my travel companion during my school’s spring break. We also saw
each other while | was in the Germanic Studies program at the University of Texas at Austin and during
her early years in Baston. Most recently, | was able to spend some time with Jackie while she attended a
medical conference in New York City.

Please allow an anecdote or two. Having taken lessons from an aunt in Milwaukee, Jackie plays
accordion and she occasionally breaks it out to entertain her friends. She and | were bridesmaids at my
sister’s wedding in the 70’s. Jackie and her husband, Chuck, traveled all the way to Minnesota to attend
my wedding in 2008. She so thoughtfully gifted us with a copy of The Settlement Cook Book, which she
knew was my German grandmother's standby.

Jackie and | share in-depth knowledge and personal experience in two areas that have shaped our lives.
We have both studied German language and history. We have both been personally affected by the
persecution of Jews before and during WWII. Jackie’s father had to flee Austria to escape almost certain
death. My own Jewish great uncle was arrested at his home and died days later in a Berlin prison.

My siblings and | consider Jackie a close family friend. Perhaps this means more because she was an
only child with a Jewish father and a Gentile mother, which was not common where we grew up. | know
her to be a very bright and good person, who is dedicated to the medical profession. In my view, Jackie’s
participation in the January 6" attack on the Capitol Building was a case of poor judgment, and | know
that she has been charged with a serious offense. But | do not think that she should go to prison. She
would better serve her family and society in living at home. Her husband, Chuck, is ill and needs Jackie
as his daily caretaker. In the future, Jackie should continue to use her professional expertise in working
with people who suffer from substance abuse. Practicing medicine would be positive and productive for
both Jackie and her patients.

Sincerely,
-» {0 »
Cecilia Pick, Ph.D.
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Letter #6
Case 1:23-cr-00260-TJK Document 43-1 Filed 08/29/24 Page 20 of 35

William E. Pick
16211 25" Avenue SW
Burien, WA 98166
206 293 6655
Wp12feb2021@gmail.com

May 14, 2024

Re: People versus Jacquelyn Starer

Honorable Timothy Kelly:

1, William Pick, for the past 35 years, have enjoyed a career in a US airlines maintenance and
engineering department, and supporting airline manufacturing customers. As a result of having
a wonderful parents and family, | earned two Federal Aviation Administration (FAA) certificates,

a bachelor and master degrees.

I've known Jacquelyn Starer (Jackie) since my parochial school childhood days, and as a family
friend. While | was in grade school, my older sister's classmate, Jackie, studied at our home.
We've shared an interest in music, dancing, and health care industry during high school,
college. Jackie is a musician too. She brings joy to others playing cultural songs with her
accordion.

She naturally cares for others well-being. She worked as a Milwaukee WI Lake Michigan
lifeguard. | think that behavior, along with her professional work life as an obstetrics/gynecology
and addiction medicine best represent her character.

Jackie acknowledges and regrets her past decision to participate in the protest. She recognizes
now that the charges are a serious crime. She had lost her own business, and is alienated from
former coworkers and friends.

She is her husband’s primary care giver. And being home is necessary to support him. Would
you please have compassion on her and her family? | plea for your mercy by deciding she has
no jail time sentencing or limiting her judgment to community service and probation. She could
help pay her debt to society by some community service, especially if she could be allowed to
continue to serve patients with substance abuse.

Sincerely, -> f

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William E. Pick
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Letter #7
Case 1:23-cr-00260-TJK Document 43-1 Filed 08/29/24 Page 22 of 35

September 2, 2023
Re: United States of America v. Jacquelyn J. Starer (1:23-cr-00260-TJK-1)
Judge Kelly:

I write as a longtime friend of Jackie Starer's. I graduated from the University of Wisconsin in 1979
with double majors in journalism and American history, after which I became a professional journalist
for 11 years. From 1988 to 1990, I attended the Wharton School of Business's Executive MBA
program, after which I changed careers and became a securities analyst and portfolio manager, and
prior to my retirement I served on the board of directors of a telecommunications equipment company.

This letter is to attest to Jackie's character. We went to high school and college together, and she and
one of my brothers dated in high school and college. She was a frequent guest in our house. I knew her
to be intelligent, well-mannered, generous in spirit, and even-tempered. She was patient (which
required a lot with me when we played chess in our living room), empathetic, and even indulgent at
times in recognition of my own rather chaotic home life.

This is to say that, having known her for so long, I was surprised by the actions that led to her arrest
and prosecution. I recognize that she has been charged with a serious crime, yet I wanted to present you
with a fuller picture of the woman who not only has been a personal friend of many years, but one who
regularly visited and comforted my mother in her assisted living facility prior to her passing in 2011.

In adulthood, Jackie became a doctor and did much good work in Boston, offering medical services of
various kinds to people who were indigent, despised, ignored, feared, and worse. She has helped the
kinds of people who IJ haven't helped, and who in many cases I wouldn't have approved of, drug addicts
being a prime example.

The Hippocratic Oath does not allow doctors to reject patients who fall short of social standards, but to
me, it is a mark of character that someone would minister to the outcasts, and do so ona voluntary and
uncompensated basis. So, in a very real sense, I consider Jackie to be a better person than me.

Life is a funny old dog. We live in an engineering age that pushes us toward precision and purity of
thought and action. But the reality is that we are all mixed bags. We will leave this life with a balance
sheet, and if there is a judgment day as my Catholic upbringing taught, God will look at all of it and
make the call. | cannot presume to play God but can only say that I regard Jackie as a member of the
Brotherhood of the Civilized, and pray that God will agree.

T return to the Jackie Starer I grew up with, a woman who managed to put aside whatever biases or
judgments she might have had and reach out in a spirit of goodwill and treat people in the way that she
would want to be treated herself. It's the ancient law of reciprocity that underlies the charity and
selflessness that, for all of society's arguments, we still hold dear and which is a cornerstone of many
religious traditions. None of this is any sort of political statement, but reflects only my deep
appreciation for her character, seriously flawed as her actions were.

Jackie Starer has been a healer of the sick, including the poor and discarded, throughout her adult life,
which to me is one of the highest of life's callings. I hope you can temper justice with mercy by
keeping her out of prison, and find a way for a healer to keep healing. I would add that, if you would
search the public records, you would find that, over the years, I have been a significant contributor to
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liberal candidates and causes. Yet, I have friends from all political camps. This it therefore not an
appeal from one of Jackie's political allies, but one from someone who has known her for years and
who can see beneath the surface. I hope you will consider my words in considering her sentence.

Respectfully submitted,

(300 (QML.

Charles Pluckhahn

2 Osborne Rd.

White Salmon, WA 98672
cpluckon@gmail.com
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Letter #8
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Honorable Timothy Kelly,

My name is Marina Schwartzman,

| am a friend of Jacquelyn Starer. You will be presiding over her case.

We met a few years ago at the gym and after engaging in a small conversation we
realized that we have a lot of common interests. We both like dancing, a healthy lifestyle
and the theater. We have been seeing each other a few times every week and there
was always something to talk about, if it’s our favorite classes, music, movies or sharing
our upbringing and our family history. Since | came to the United States as a Jewish
refugee, Jackie told me the story of her own father and his family who escaped Nazi
antisemitism in Europe and it was one more thread that connected us.

| knew that she changed her career from being an obgyn doctor to an addiction
specialist. One time, my friend was looking for a solution for her husband suffering from
alcoholism, so | mentioned that to Jackie, who at this time was going through a big
physical pain herself that required a surgery, and she selflessly said that she will try to
help. The same is at the gym, if someone is hurt during the class Jackie is always first
to the rescue. | really enjoy speaking with her and asking advices on some personal
matters.

Jackie is a kind, intelligent woman, my older, wise friend who | can rely on. | understand
that she is being charged with the serious crime, but I’m urging the court not to include a
prison sentence, | specifically state my opinion, that Jacquelyn is not a dangerous,
absolutely not violent, but a polite and genuinely good person.

Sincerely,

Marina Schwartzman

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Letter #9
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February 21, 2024
Character Witness for Jackie Starer MD

| understand that Jackie Starer has been accused of a serious crime and may face significant prison
time. | do not know the details of her case, but am not a Trump supporter and do not think that the
2020 election was stolen. | am writing to describe Dr. Starer to the court, describe her as | have
known her, primarily as a professional colleague and as a physician champion for pregnant and
parenting people with addiction.

Jackie and | were amongst the first physicians in the US to be boarded in both OBGYN and Addiction
Medicine. In 2009, with 3 other physicians, we established the “Women’s Action Group” — a work
group within the American Society of Addiction Medicine (ASAM) dedicated to education, research,
and clinical care related to gender and substance use and use disorder. | was the first chair of the
group and she was the second. She grew the group incredibly and was critical in its early success.
Today there are over 2,000 on our list serv and over 500 active members. This would not have
happened without Jackie’s early involvement.

Jackie and | have presented at medical society conferences together, overlapped service on
taskforces, worked with and represented ASAM at both the State and Federal levels, and
coauthored two important papers: 1) the first every public policy statement by ASAM on addiction
(which was also approved by the American College of Obstetrician Gynecologists), and 2) aclinical
guidance document that emerged from a CDC-led workshop on the care of pregnant people with
opioid use disorder. She is recognized nationally as an expert in the clinical care of pregnant and
parenting people with substance use disorder and has been integral to public health in
Massachusetts. She served as both Chair and on the Board of the MA Chapter of ASAM, served for
almost a decade on the MA maternal mortality committee, provided expertise to MA Department of
Public health in the care of substance-exposed newborns, and helped develop state-wide
protocols for pregnancy care.

Jackie has served people with addiction, especially pregnant people, with compassion and

evidence. She has brought science and hope to people, particularly in Massachusetts, who had
been denied both.

| know her to be an empathetic, smart, and hard-working person who believes in making the world a
better place. Her lifetime of service, her pioneering clinical work, her professional, kind, and
collaborative spirit, all are essential facets of her humanness, a humanness that! ask the court to
not deny.

Sincerely,

Mishka Terplan MD MPH FACOG DFASAM
Medical Director and Senior Research Scientist, Friends Research Institute
Adjunct Faculty and Substance Use Warmline Clinician, University of California, San Francisco

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Alan A. Wartenberg, MD. FACP, DFASAM
32 Trout Brook Lane
Hope, Rhode Island 02831
May 8, 2024
Daniel J. Cappetta, Esq.
Cappetta Law Offices
150 Speen Street
Suite 201
Framingham, MA 01701

RE: Jacquelyn Starer, MD, FACOG, FASAM

Dear Mr. Cappetta:

| am writing this letter as a character witness for Dr. Starer, whom | have known for over 20
years, as a colleague, clinical collaborator, co- member with Dr. Starer in both the American
Society of Addiction Medicine (ASAM)}, and specifically in the Massachusetts ASAM chapter. |
have also known her personally as a friend and as someone who has been deeply committed to

improving the care received by pregnant and parenting women for substance use disorders
(SUDs).

When | first met Dr. Starer, she was transitioning from the practice of Obstetrics/Gynecology to
that of Addiction Medicine physician. | was the Medical Director of the Faulkner Hospital
Addiction Recovery program (ARP). The ARP was one of the most significant treatment
programs in the Boston metropolitan area, in large part because of our involvement in training
medical, family practice and psychiatric residents on hands-on management of patients with
substance use disorders. There had been relatively few OB/GYN physicians with both interest
and expertise in treating pregnant, peri-partum and parenting women, and Dr. Starer made
great contributions to these patients, our trainees and the Addiction Medicine field in general.
In some part due to Dr. Starer’s involvement 20 years ago, a considerable number of her
colleagues has joined her in developing skills and knowledge in this topic area.

Dr. Starer has made significant contributions to the education of and literature in the OB/GYN
connection with SUDs. She has also worked as part of organized medicine, through the
Massachusetts Medical Society, MASAM and the OB/GYN Society, to disseminate important
information about the proper diagnosis and management. Including culturally sensitive and
empathic care. Much of this work is voluntary, and very few of us receive any recompense
other than the satisfaction of helping people, many of whom are from marginalized
communities, including people of color, immigrants those with significant co-occurring medical
and psychiatric conditions.
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Dr. Starer has worked in many settings, including Faulkner Hospital, and has treated large
number of patients with compassion, empathy and skill, regardless of their socio-economic or
other status. | have served as her mentor and clinical supervisor, and later as a colleague and
friend. | left Faulkner Hospital in 2005 and moved to Rhode Island in 2016, and thus have had
less regular contact with Dr. Starer, but | continue to hear from her, and | maintain contact with
MASAM and attend its conferences from time to time. Dr. Starer and | both served as President
of that organization, as well as its Educational Coordinators in the past.

| have long been aware of Dr. Starer’s conservative political leanings, and my own leanings have
been considerably to her “left.” We have not allowed those differences to affect our
relationship or ability to collaborate. | was surprised and disheartened to learn of her
involvement in the January 6, 2021 Capitol riot, and in particular the criminal charges she now
faces. While | have no direct knowledge of her activities, | do believe that it represents a
departure from her usual calm and controlled demeanor. Unfortunately, many people on the
“right” side of the political spectrum believed the misinformation about the election and took
actions that were in stark contrast to their usual behaviors.

It is my hope that justice will be tempered with mercy in this matter, and that Dr. Starer’s long
history of selfless service to the population we both serve, those with Substance Use Disorders,
can be taken into account when this matter is judged. | think that allowing Dr. Starer to provide
care to imprisoned/uninsured women with SUDs would be far more valuable to society than
incarcerating her. | would be very willing and able to have further discussions on this matter, or
to give testimony during the legal proceedings.

Please feel free to contact me with any questions or comments.
Sincerely.

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Alan A. Wartenberg, MD>EACP, DFASAM

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Mass General Brigham Community Physicians - Concord
80 BEHARRELL ST

CONCORD MA 01742

Dept Phone #: 781-259-9292

Dept Fax #: 781-259-0747

April 24, 2024

Patient: Charles F {li Green
MR Number: 60378

Date of Birth: 4/27/1948

Date of Visit: 4/24/2024

To whom it may concern;

My patient, Charles F. Green [dob 4/27/1928], has multiple complex medical problems that preclude his ability
to attend proceedings of any length and requiring travel. He has Coronary Disease on nitroglycerin with
history of prior Heart Attack and Congestive Heart Heart Failure and frequent PVCs, COPD, Obesity and Sleep
Apnea, High Blood Pressure and Cholesterol as well as Hypothryoidism all made worse of an MVA (motor
vehicle accident last year) aggravating his bilateral osteoarthritis of both knees. He has additional major
stressors regarding his wife's legal situation, all of which stand to potentially affect his remarkably successful
years in recovery from alcoholism.

Please excuse him from any required attendance for all of the above reasons.

Thank you in advance for your interest in the care of my patient, and contact me if | can be of any further help
in this matter

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Kind regards,

Lynn Weigel MD A ( ag )
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THOMAS K. ZANDER
P.O. Box 105
OLDSMAR, FLORIDA 34677-0105
Voice: 813.699.9718
E-MAIL: TOMZANDER@AOL.COM

July 18, 2023
Re: United States of America v. Jacquelyn J. Starer (1:22-mj-00278)

Your Honor:

I am a semiretired lawyer and adjunct professor of law at Marquette University Law
School. I am also a semiretired clinical and board-certified forensic psychologist. See, e.g.:
https://law.marquette.edu/faculty-and-staff-directory/thomas-zander. However, at the outset of
this letter, I wish to make it clear that I am not writing as a lawyer, professor of law, or as a
psychologist, but rather as longtime friend of the defendant, Jacquelyn Starer [hereinafter:
“Jackie”]. The focus of my letter will be on my friendship with Jackie when we were in our
adolescent and early adult years, because that was the period in our lives in which we had the

most contact. [ assume that others will speak to their personal and professional interactions with
Jackie in her later years.

Jackie and I met when we were in the 7 grade at what was then called Shorewood
Junior-Senior High School, located in a suburb of Milwaukee, Wisconsin. We were friends
throughout high school. The friendship we developed as early adolescents was natural, because
we had so much in common. Both of our fathers were immigrants to the U.S., having fled the
rise of Hitler and Nazism. We both excelled academically. We had a similar sense of humor. In
high school, we took many of the same classes and often sat together, enjoying each other’s wit
and humor. Our high school grade-point averages were identical, putting us on stage together as
co-salutatorians at our graduation ceremony. Our friendship continued when we attended the
University of Wisconsin as undergraduates, as it did when I attended the University of
Wisconsin Law School, while she attended the University of Wisconsin Medical School. During
our years together at the University of Wisconsin, we often attended the same social events,
always enjoying each other’s company.

I earned my J.D. at the University of Wisconsin Law
School in 1977 and Jackie earned her M.D. at the University of
Wisconsin Medical School in 1979. A tradition for prospective
UW-Medical School graduates is to be escorted onto the
commencement ceremony stage by someone already holding a
doctoral degree. This role is typically filled by an older relative
of the medical school graduate, a faculty member, or the
graduate’s family physician. But Jackie chose me for the honor
of being her commencement ceremony escort. Thus, we both
launched our careers as professionals, with Jackie going on to
do her residency in obstetrics-gynecology in San Antonio, Texas
and me continuing the work I had begun two years earlier as a
public interest lawyer representing low-income clients in

Jackie Starer and Thomas Zander prior . :
osha 1070 cemmmuncenieatedremonyral Milwaukee. In the decades that followed, Jackie and I kept in

which Jackie was conferred her M.D. touch and often saw each other when she would return to

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United States of America v. Jacquelyn J. Starer (1:22-mj-00278)
Submission by Thomas K. Zander
July 18, 2023

Milwaukee to visit her parents and for high school reunions. In later years, we would keep in
touch through texting and emails.

In the 57 years of my friendship with Jackie Starer, I have known her to consistently be a
person of high intelligence, high moral character, and compassion for others. The foundation of
our friendship was our shared convictions in honesty and helping those who are less fortunate.
Those are the moral convictions that drove me to be a public interest lawyer and a forensic
psychologist with a pro bono practice. Those values led Jackie to be a physician to
disadvantaged patients, such as pregnant women who struggle with substance abuse. Jackie and
I often disagreed on matters of politics. But we nevertheless respected the sincerity of each
other’s convictions. We never let our political differences jeopardize our longtime friendship.

Since Jackie’s arrest on the above-referenced criminal charges, she and I have carefully
avoided discussing details of the case. My role has been limited to being her supportive friend.
However, from what I know of Jackie’s alleged conduct from the Statement of Facts filed by the
Government, I perceive it as a few impulsive moments of terribly bad judgment. It is my hope
that those moments of bad judgment and misconduct will not unduly overshadow her otherwise
honorable 69-year lifetime. In my personal opinion, imprisoning Jackie as she approaches her
70’s, would be disproportionate to the gravity of her first-time offense. A more appropriate
sentence would be probation with conditions that would allow her to repay her debt to society in
a way that would serve the interests of justice.

Respectfully,

Sse ke

Cc
Thomas K. Zander

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